 COMPOSITE
  EXHIBIT 2
(File Under Seal)
                                                   Page 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - x
VIRGINIA L. GIUFFRE,

         Plaintiff,
                                 Case No.:
   -against-                     15-cv-07433-RWS

GHISLAINE MAXWELL,

         Defendants.

- - - - - - - - - - - - - - - - - - - - x

                **CONFIDENTIAL**

         Videotaped deposition of GHISLAINE
    MAXWELL, taken pursuant to subpoena, was
    held at the law offices of BOIES
    SCHILLER & FLEXNER, 575 Lexington
    Avenue, New York, New York, commencing
    April 22, 2016, 9:04 a.m., on the above
    date, before Leslie Fagin, a Court
    Reporter and Notary Public in the State
    of New York.

                   - - -
         MAGNA LEGAL SERVICES
     1200 Avenue of the Americas
      New York, New York 10026




          MAGNA&     LEGAL SERVICES
                                                       Page 201
 1             G Maxwell - Confidential
 2   underage?
 3           A.   I can only testify to what I saw
 4   and what I was present for, so if you are
 5   asking me what I saw then I am happy to
 6   testify.     I cannot testify to what somebody
 7   else did or didn't do.
 8           Q.   Did you issue a statement to your
 9   press agent, Ross Gow in 2015, stating that
10   Virginia Roberts' claims were, quote, obvious
11   lies?
12                MR. PAGLIUCA:   Objection to the
13       form and foundation.
14       Q.       You can answer.
15       A.       You need to reask me the question.
16       Q.       Sure.
17                Did you issue a press statement
18   through your press agent, Ross Gow, in
19   January of 2015, stating that Virginia
20   Roberts' claims were, quote, obvious lies?
21                MR. PAGLIUCA:   Objection to the
22       form and foundation.
23       A.       Can you ask it a different way,
24   please?
25       Q.       I will ask it again and you can




                  MAGNA&   LEGAL SERVICES
                                                      Page 202
 1             G Maxwell - Confidential
 2   listen carefully.
 3               Did you issue a press statement
 4   through your press agent, Ross Gow, in
 5   January of 2015, where you stated that
 6   Virginia Roberts' claims were, quote, obvious
 7   lies?
 8               MR. PAGLIUCA:   Objection to the
 9        form and foundation.
10       A.      So my lawyer, Philip Barden
11   instructed Ross Gow to issue a statement.
12       Q.      Today, did you say that Virginia
13   lied about, quote, absolutely everything?
14       A.      I said that there are some things
15   she may not have lied about.
16       Q.      So are you saying it's an obvious
17   lie that Jeffrey Epstein engaged in sexual
18   contact with Virginia while Virginia was
19   underage?
20               MR. PAGLIUCA:   Objection to the
21       form and foundation.
22       A.      Can you ask the question again,
23   please?
24       Q.      Are you saying it's an obvious lie
25   that Jeffrey Epstein engaged in sexual




                  MAGNA&   LEGAL SERVICES
                                                         Page 203
 1            G Maxwell - Confidential
 2   conduct with Virginia while Virginia was
 3   underage?
 4               MR. PAGLIUCA:     Objection to the
 5        form and foundation.
 6        Q.     You can answer.
 7        A.     Try again, please.
 8        Q.     Are you saying that it's an obvious
 9   lie that Jeffrey Epstein engaged in sexual
10   conduct with Virginia while Virginia was
11   underage?
12               MR. PAGLIUCA:    Objection to the
13       form and foundation.
14       A.      Again, I'm telling you, first of
15   all, it was a statement that was issued by my
16   lawyer and -- through my lawyer to Ross Gow.
17       Q.      I understand that.    I'm asking you,
18   are you saying that it's an obvious lie that
19   Jeffrey Epstein engaged in sexual conduct
20   with Virginia while Virginia was underage.
21               Is that a lie?
22               MR. PAGLIUCA:    Objection to the
23       form and foundation.
24       Q.      You can answer.
25       A.      So I cannot testify to what Ross




                 MAGNA&   LEGAL SERVICES
                                                        Page 204
 1            G Maxwell - Confidential
 2   Gow and Philip Barden decided to put -- I can
 3   testify to what Virginia's obvious lies are
 4   as regards to me.     I cannot make
 5   representations about all the many lies she
 6   may or may not have told about Jeffrey.
 7           Q.   So is Virginia lying when she says,
 8   is it an obvious lie when she says that she
 9   had sex with Jeffrey Epstein while she was
10   underage?
11                MR. PAGLIUCA:   Objection to the
12       form and foundation.
13       A.       Again, I'm testifying to what I
14   know to be true.    I can only testify to all
15   the many lies she told about me.       I cannot
16   testify to what lies she told about somebody
17   else.    Given she told so many about me, one
18   can probably infer she is lying about
19   everything.
20       Q.       So you think she is lying when she
21   said she had sex with Jeffrey Epstein when
22   she was underage?
23                MR. PAGLIUCA:   Objection to the
24       form and foundation.
25       A.       Again, I can only talk about what I




                  MAGNA&   LEGAL SERVICES
